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 8                     UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10 In re                                             Case No. 2:20-cv-00613-DSF
11 VERITY HEALTH SYSTEM OF CALIFORNIA,
   INC.                                              Honorable Dale S. Fischer
12
13 VERITY HEALTH SYSTEM OF CALIFORNIA,               ORDER
   INC., a California nonprofit public benefit       DISMISSING ACTION WITH
14 corporation, ST. VINCENT MEDICAL                  PREJUDICE
   CENTER, a California nonprofit public benefit
15 corporation, ST. VINCENT DIALYSIS
   CENTER, INC., a California nonprofit public       Trial Date: None (Vacated)
16 benefit corporation, and ST. FRANCIS
   MEDICAL CENTER, a California nonprofit
17 public benefit corporation, SETON MEDICAL
   CENTER, a California nonprofit public benefit
18 corporation, and VERITY HOLDINGS, LLC, a
   California limited liability company,
19
                Plaintiffs and Counterclaim-
20              Defendants,
21       vs.
22 KALI P. CHAUDHURI, M.D., an individual,
   STRATEGIC GLOBAL MANAGEMENT, INC.,
23 a California corporation, KPC HEALTHCARE
   HOLDINGS, INC. a California Corporation KPC
24 HEALTH PLAN HOLDINGS, INC. a California
   Corporation, KPC HEALTHCARE, INC. a
25 Nevada Corporation, KPC GLOBAL
   MANAGEMENT, LLC, a California Limited
26 Liability Company, and DOES 1 through 500,
27              Defendants and Counterclaim-
                Plaintiffs.
28

                        ORDER DISMISSING ACTION WITH PREJUDICE
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 1        In light of the Parties’ Stipulation for Dismissal of Action With Prejudice,
 2        IT IS HEREBY ORDERED that this entire action, including all claims and
 3 counterclaims, is dismissed with prejudice, with each party to bear their own costs.
 4        IT IS SO ORDERED.
 5   DATED: May 3, 2021
 6
                                          Honorable Dale S. Fischer
 7                                        UNITED STATES DISTRICT JUDGE
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                         ORDER DISMISSING ACTION WITH PREJUDICE
